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Land lines within Santa Margarita Y Las Flores grant DECLINATION, 1948 Pah et

THIS MAP COMPLIES WITH NATIONAL MAP ACCURACY STANDARDS

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